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                                                                      Baltimore               City
                                                               Ucpa   rrrnC.llt   of Socia!      Service;.;




   Molly McGrath Tierney
                 Director           February 10,2011
Talmadge Branch Building
        1910 N. Broadway
                                    Thaddeus Moore
      Baltimore, Maryland           10069 Guilford Road
                    21213           Jessup, MD 20794
           Director's Office:
               443-378-4600         Dear Mr. Moore:
       General Information:
            1-800-332-6347
                                    Thank you for your recent correspondence regarding your experiences at Mt. Saint
                                    Joseph High School. I deeply appreciate the concern you have for your son and his
                                    classmates, and share your commitment to surrounding children with good role models.

                                    The Department of Social Services is responsible for investigating incidents of abuse
                                    and neglect of children. Abuse and neglect are clearly defined in Maryland
                                    regulations, and they provide the boundaries of our work. These regulations are
                                    important protection for families and professionals alike.

 Stephanie Rawlings-Blake           In this case, the incidents you describe to me do not fall within Maryland's definition
                     Mayor          of abuse and neglect. While I understand your distress at the use of offensive language
     Commission         Members
                                    in the presence of children, it is not neglect or abuse in the State of Maryland. Our
                                    regulations also do not cover playing time on athletic teams, school suspensions,
    Mary J. Demory, Chair           school personnel practices; or police matters. For those issues, I recommend you
           Richard P. Barth
                                    contact the Mt. Saint Joe's school board or your local police department.
      Pamela Bohrer Brown
           Sophie Dagenais          I will not be able to open an investigation based on your report at this time. I realize
   Jacquelyn Duval-Harvey
           Cannon Ellerbee
                                    that this news may be met with some disappointment on your part. If so, I can only
        M.Thomas Graham             suggest you consider transferring your son to a school that better meets your value
          Ernestine F. Jones        system.
           Rulh W. Mayden
                . Sam Macer
         Anna R. McPhatter          My office remains available to you. If at any time you believe a child is being abused
    David H. Thompson, Jr.          or neglected by Maryland's definition, please contact my hotline at 410-361-2235.
                                    We are available to you 24 hours aday. .'                        .

                                    Thank you for taking the time to write and call.

                                    Sincerely,



                                            ~
                                    M lIy McGrath Tierney
        'TDD 443-423-6502
                                    Dir ctor
An. Equal Opportunity    Employer


                                    • Martin O'Malley, Govemor • Anthony G. Brown, Lt. Govemor • Theodore Dallas, Interim Secretary
